Case 2:20-cv-12470-MCA-MAH Document 178 Filed 10/24/22 Page 1 of 2 PageID: 3901

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                                                                                                     October 24, 2022

  VIA ECF

  The Honorable Madeline Cox Arleo, U.S.D.J.
  King Fed. Bldg. & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

        Re:       Alkermes, Inc., et al. v. Teva Pharmaceuticals USA, Inc.
                  Civil Action No. 20-12470 (MCA)(MAH)

  Dear Judge Arleo:

        This firm, together with Paul Hastings LLP, represents plaintiffs Alkermes, Inc. and
  Alkermes Pharma Ireland Limited (together, “Alkermes”) in the above-captioned matter.

          We respectfully request a 2-business day extension—until Tuesday, November 1, 2022—
  of the deadline to file pretrial briefs. Pursuant to Your Honor’s July 28, 2022 Letter Order (D.I.
  159), the pretrial briefs are due on October 28. Alkermes requests this extension to account for
  certain scheduling issues resulting from the recent Jewish Holidays, and does not seek to modify
  any other aspect of Your Honor’s July 28 Letter Order. Defendant consents to this extension. If
  this meets with the Court’s approval, we respectfully request that Your Honor sign the below
  form of endorsement and have it entered on the docket.

           Thank you for Your Honor’s kind attention to this matter.

                                                                                Respectfully yours,



                                                                                Charles M. Lizza

  cc:      Hon. Michael A. Hammer, U.S.M.J. (via ECF)
           All Counsel (via email)




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                                                       A DELAWARE LIMITED LIABILITY PARTNERSHIP
Case 2:20-cv-12470-MCA-MAH Document 178 Filed 10/24/22 Page 2 of 2 PageID: 3902

 Hon. Madeline Cox Arleo, U.S.D.J.
 October 24, 2022
 Page 2


 SO ORDERED that the parties shall file their respective pretrial briefs (each limited to 30 pages,
 12-point font, double-spaced) on November 1, 2022 by 6:00 p.m. ET.


 ___________________________________
 Hon. Madeline Cox Arleo, U.S.D.J.
